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                      UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA


IN RE: PHILIPS RECALLED CPAP,                   Master Docket: No. 21-mc-1230
BI-LEVEL PAP, AND MECHANICAL
VENTILATOR PRODUCTS LITIGATION                  MDL No. 3014

THIS DOCUMENT RELATES TO:

All Actions Asserting Claims for Personal
Injury Brought by SoClean Users

                                                       PHILIPS DEFENDANTS’
KONINKLIJKE PHILIPS N.V.,                            THIRD-PARTY COMPLAINT
PHILIPS NORTH AMERICA LLC,
PHILIPS HOLDING USA, INC.,
PHILIPS RS NORTH AMERICA LLC, and
PHILIPS RS NORTH AMERICA
HOLDING CORPORATION,

                      Defendants /
                      Third-Party Plaintiffs,

       v.

SOCLEAN, INC. and
DW MANAGEMENT SERVICES, LLC,

                     Third-Party Defendants.
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       Pursuant to Federal Rule of Civil Procedure 14(a) and Pretrial Order No. 31,

Defendants/Third-Party Plaintiffs Koninklijke Philips N.V., Philips North America LLC, Philips

Holding USA Inc., Philips RS North America LLC (“Philips RS”), and Philips RS North America

Holding Corporation (collectively, “Third-Party Plaintiffs” or the “Philips Defendants”) bring

this third-party complaint for contribution and indemnity against Third-Party Defendants

SoClean, Inc. (“SoClean”) and DW Management Services, LLC (“DWHP”).                    Third-Party

Plaintiffs’ allegations are based on knowledge as to themselves and, for the conduct of others, on

information and belief following a reasonable inquiry.

                                        INTRODUCTION

       1.      In this multidistrict litigation, certain individuals (the “Device User Plaintiffs”)

have alleged they suffered a personal injury from their use of CPAP or BiPAP devices

manufactured and recalled by Philips RS (the “Recalled Devices”). Device User Plaintiffs allege,

inter alia, that the PE-PUR foam (a) breaks into particles that may then be inhaled or ingested by

the Device User Plaintiff, and (b) emits certain volatile organic compounds (“VOCs”) when the

foam degrades. Device User Plaintiffs have claimed pecuniary, non-pecuniary, and punitive

damages for their alleged personal injuries.

       2.      The Philips Defendants maintain that the Device User Plaintiffs’ claims against the

Philips Defendants are devoid of merit. Simply put, any emitted foam or any VOCs are well within

long-established, and scientifically supported, safety levels.

       3.      Nonetheless, to avoid the uncertainty of litigation, and as announced on April 29,

2024, the Philips Defendants have entered into an agreement that would establish a $1.075 billion

settlement fund (“Settlement Fund”) to compensate eligible patients, including eligible patients

who used SoClean with their Recalled Devices. In other words, the Philips Defendants are bearing

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financial responsibility for those individuals’ alleged harmsharms which, if attributable to use

of the Recalled Devices, were caused, in whole or in part, by SoClean’s devices through direct

ozone inhalation, ozone’s contribution to foam degradation, and/or ozone’s contribution to the

release of any associated VOCs from degraded foam. Thus, for those Device User Plaintiffs who

also used one of SoClean’s devices with his or her Recalled Device, the Philips Defendants are

entitled to contribution and indemnity from SoClean and the private equity firm that controls it,

DWHP.

           4.      A meaningful percentage of Device User Plaintiffs used SoClean equipment to

clean their CPAP/BiPap devices. Plaintiff Fact Sheets submitted under penalty of perjury in

connection with this litigation indicate that at least 15% of Device User Plaintiffs are confirmed

SoClean users. These self-declared SoClean users represent the absolute minimum number of

Device User Plaintiffs that may have used SoClean because the number of Plaintiff Fact Sheets

submitted to date is far lower than the total number of total Device User Plaintiffs. As of the date

of this Third-Party Complaint, approximately 550 Plaintiff Fact Sheets have been filed, whereas

there are more than 70,000 Device User Plaintiffs. The Plaintiff Fact Sheets and census data for

this litigation establish that SoClean users resided in each state under the laws of which the Philips

Defendants are seeking contribution.

           5.      SoClean and its private equity sponsor, DWHP, are notable for their recklessness

or worse. SoClean, acting as DWHP’s alter ego, invited customers to use its devices with Philips

RS devices by making multiple claims that its products were compatible with the CPAP/BiPAP

products produced by Philips RS. SoClean manufactured and marketed its ozone-based cleaning

devices (“SoClean Devices”)1 as safe and effective for cleaning CPAP and BiPAP devices,


1
    SoClean models include the SoClean 1, the SoClean 2, the SoClean 2 Go, the SoClean 3, and the SoClean 3+.
                                                         3
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including, by name, the devices manufactured by Philips RS (the “Philips Respironics PAPs”).

SoClean also manufactured, marketed, and sold to consumers adaptors that SoClean designed to

connect its ozone devices specifically to Philips Respironics PAPs

        6.      But in reality, SoClean Devices inject toxic ozone gas into the interiors of Philips

Respironics PAPs and into the homes of Philips Respironics PAP users. The amount of ozone

SoClean Devices release is substantial. Independent laboratory tests conducted in 2019 evidenced

that SoClean Devices release ozone at a level that far exceeds federal limits. Measuring ozone at

the end of a SoClean cleaning cycle, the testing found the ozone level was more than 500 times

the regulatory limit.

        7.      Additionally, as evidenced by FDA testing, unsafe levels of ozone remain in the

PAP tank, hose, and mask following the end of a cleaning cycle. PAP users can then inhale this

residual ozone upon use of their PAP device.

        8.      Ozone poses a lengthy list of health problems including, inter alia, lung damage,

worsened asthma and COPD, and compromised respiratory immunity—the same conditions

alleged by Device User Plaintiffs to be caused by use of their Recalled Devices. See, e.g., Master

Complaint ¶ 22. FDA has warned users of reports from “patients experiencing cough, difficult

breathing, nasal irritation, headaches, asthma attacks and other breathing complaints when ozone

gas-based products were used to clean, sanitize or disinfect CPAP devices and accessories.”2

Similarly, EPA cautions that exposure to even “relatively low amounts” of ozone can cause harm




2
 U.S. FOOD AND DRUG ADMIN., FDA Reminds Patients that Devices Claiming to Clean, Disinfect or Sanitize CPAP
Machines Using Ozone Gas or UV Light Have Not Been FDA Authorized (Feb. 27, 2020), www.fda.gov/news-
events/press-announcements/fda-reminds-patients-devices-claiming-clean-disinfect-or-sanitize-cpap-machines-
using-ozone-gas-or (last visited Apr. 27, 2024).
                                                     4
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to the human body.3 Just one use of a SoClean device emits more than 500 times the federal

standard at the end of that cleaning cycle.

        9.       Not only do SoClean products expose users of Philips Respironics PAPs to a known

toxic gas, SoClean’s ozone attacks the foam in the Philips Respironics PAPs, causing or

significantly exacerbating foam degradation.              Independent third-party testing to date has

demonstrated that ozone exposure dramatically accelerates the level of PE-PUR foam degradation.

Independent testing also has demonstrated that ozone exposure results in elevated levels of VOC

emissions. These are the same alleged injury causes (foam degradation, VOCs) being asserted

against the Philips Defendants by the Device User Plaintiffs.

        10.      Philips RS has never endorsed the use of SoClean Devices to clean Philips

Respironics PAPs. Instead, Philips RS has directed users in its User Manual to clean the device

and tubing with “water and a mild liquid dish washing detergent.” Further, FDA has indicated

there is no reason to use ozone in connection with CPAP or BiPAP products, advising PAP users

to “follow the cleaning instructions provided by the CPAP’s manufacturer, which normally include

regular cleaning with soap and water.”4

        11.      For years, SoClean has known about the destructive properties of ozone, yet it hid

the risks associated with its ozone-based devices. SoClean has acknowledged internally that its

ozone cleaners                                               when injected into a PAP device; the only

question was                                              . Yet SoClean neither disclosed nor attempted


3
 U.S. ENV’T PROTECTION AGENCY, Ozone Generators that are Sold as Air Cleaners, www.epa.gov/indoor-air-
quality-iaq/ozone-generators-are-sold-air-cleaners#:~:text=of%20manufacturers%27%20claims.,
How%20is%20Ozone%20Harmful%3F,ozone%20can%20damage%20the%20lungs (last visited Apr. 27, 2024).
4
  See U.S. FOOD AND DRUG ADMIN., FDA Reminds Patients that Devices Claiming to Clean, Disinfect or Sanitize
CPAP Machines Using Ozone Gas or UV Light Have Not Been FDA Authorized (Feb. 27, 2020),
www.fda.gov/news-events/press-announcements/fda-reminds-patients-devices-claiming-clean-disinfect-or-sanitize-
cpap-machines-using-ozone-gas-or (last visited Apr. 27, 2024).
                                                      5
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to mitigate the risk of degradation, instead continuing to market its devices as safe and effective

for use with PAP devices, including Philips Respironics PAPs.

       12.     To the extent the Philips Defendants are bearing or may in the future bear financial

responsibility for any personal injury damages alleged by a Device User Plaintiff, and the Device

User Plaintiff also used one of SoClean’s devices with his or her Recalled Device, SoClean’s

negligent and intentionally misleading conduct will have contributed to those harms, making

SoClean liable in contribution and indemnity for its relative culpability.

       13.     DWHP, SoClean’s private-equity controller, is directly implicated in SoClean’s

faulty product design and ensuing negligent conduct.           Through acquisition due diligence,

DWHP—which esteems itself as specializing in healthcare sector investments—knew or should

have known that: (i) exposure to ozone is toxic, (ii) the ozone in SoClean’s devices was known to

degrade the components of the very PAP devices SoClean designed them to clean, including

Philips Respironics PAPs, and (iii) that SoClean was and continues to market, promote, and sell

its devices without required FDA approval.            Seeing these risks, DWHP left SoClean

undercapitalized and underinsured while loading it with debt to DWHP’s benefit. At the same

time, DWHP treated SoClean as DWHP’s alter ego, dominating SoClean’s affairs without regard

to the existence of SoClean as a separate corporate entity, while attempting to insulate itself from

any exposure by fictitiously maintaining SoClean as a separate corporation on paper.

       14.     Impleading Third-Party Defendants will not prejudice SoClean, DWHP, or the

Device User Plaintiffs given the current stage of the underlying litigation and the recent settlement

agreement.    On the other hand, Third-Party Plaintiffs will suffer prejudice if Third-Party

Defendants are not impleaded into this action. As demonstrated throughout this pleading, there is

substantial evidence that Third-Party Defendants are responsible, either in whole or at least in part,

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for liability alleged by those Device User Plaintiffs who used SoClean Devices. And for all the

reasons leading to the Court’s entry of Pretrial Order No. 31, resolving Third-Party Defendants’

liability in this proceeding will enhance judicial efficiency.

         15.      Third-Party Defendants’ negligent and intentionally misleading conduct has

contributed to the negligence claims for which the Philips Defendants are bearing or may in the

future bear financial responsibility, making the Third-Party Defendants liable in contribution and

indemnity for their relative culpability. The Philips Defendants therefore bring this Third-Party

Complaint to ensure that, for any payment to a Device User Plaintiff who used a SoClean Device,

Third-Party Defendants are held accountable for their contributory liability to Device User

Plaintiffs’ negligence claims.5


                                                     THE PARTIES

         16.      Third-Party Plaintiff Koninklijke Philips N.V. is a Dutch holding company with its

principal place of business in Amsterdam, the Netherlands.

         17.      Third-Party Plaintiff Philips North America LLC is a Delaware company with its

principal place of business in Andover, Massachusetts.

         18.      Third-Party Plaintiff Philips Holding USA, Inc., is a Delaware holding company

with its principal place of business in Cambridge, Massachusetts.

         19.      Third-Party Plaintiff Philips RS North America LLC is a Delaware company

headquartered in Pittsburgh, Pennsylvania.




5
  The Philips Defendants reserve the right to seek contribution for any additional personal injury complaints arising
in this matter, specifically, harms alleged in any Short Form Complaint for Personal Injuries where the Device User
was a SoClean user.
                                                          7
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        20.     Third-Party Plaintiff Philips RS North America Holding Corporation is a Delaware

holding company with its principal place of business in Cambridge, Massachusetts.

        21.     Third-Party Defendant SoClean, Inc. is a Delaware corporation with its principal

place of business in Peterborough, New Hampshire.

        22.     Third-Party Defendant DW Management Services, LLC, d/b/a DW Healthcare

Partners is a Delaware company with its principal place of business in Park City, Utah. DWHP

acquired a controlling interest in SoClean in December 2017.


                                  JURISDICTION AND VENUE

        23.     This Court has supplemental jurisdiction over the subject matter of this complaint

pursuant to 28 U.S.C. § 1367(a). The claims in this Third-Party Complaint are so related to and

intertwined with the claims at issue in the remainder of the case, over which the Court has original

jurisdiction under 28 U.S.C. § 1331, that they form part of the same “case or controversy” under

Article III of the United States Constitution.

        24.     Because the claims asserted in this Third-Party Complaint are closely related to and

intertwined with the claims in the main cases filed by Device User Plaintiffs against the Philips

Defendants, venue is also proper in this Court for pretrial proceedings, and venue is proper in each

of the courts in which Plaintiffs’ cases were originally filed. See, e.g., O’Brian v. Allen, 137 F.

Supp. 691 (W.D. Pa. 1955) (“The provisions of Sec. 1391(a) have no application to a third-party

defendant . . . [A] third-party proceeding is ancillary to the main action and the restrictions on

venue do not apply to it.”). By asserting that venue is proper for the purposes of pretrial

proceedings with respect to this Third-Party Complaint pursuant to 28 U.S.C. § 1407, the Philips

Defendants do not waive their right to request that the cases filed against them be transferred back

to the respective federal courts of origin for trial.
                                                    8
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                                         FACTUAL ALLEGATIONS

    I.   SoClean’s Ozone-Based Cleaning Devices

         25.     PAP users must regularly clean their PAP device and accessories.                        PAP

manufacturers, including Philips RS, recommend cleaning PAP devices with soap and water.

SoClean has purported to offer a more convenient alternative that allows PAP users to “sanitize

and disinfect your CPAP mask, hose, and reservoir without needing to take any pieces apart every

day.”

         26.     According to SoClean, “SoClean is the dominant market leader for ozone cleaners,

accounting for the vast majority of sales.”6 SoClean has marketed its devices as appropriate for

use with all major brands of PAP devices, expressly including the Recalled Devices manufactured

by Philips RS. SoClean has also manufactured and sold to consumers adapters that it specifically

designed to make its ozone machines purportedly “compatible” with PAP devices, including PAP

devices sold by Philips RS and Philips North America. SoClean, for example, created and posted

on its website a compatibility chart that included Philips trademarks and identified multiple Philips

Respironics PAP devices, including Recalled Devices, as “compatible with free adapter!” with

SoClean products.7

         27.     SoClean continued to market its ozone-based devices as safe and effective for use

with PAP devices even after repeated warnings from FDA that such claims were unsubstantiated

and illegal. In 2019, for example, FDA told SoClean that




6
  Second Amended Complaint ¶ 245, SoClean, Inc. v. Koninklijke Philips N.V., et al., 22-MC-00152-JFC (W.D. Pa.
filed Oct. 10, 2022).
7
 Internet Archive Wayback Machine, CPAP Machine & SoClean Compatibility Chart | SoClean CPAP Cleaning
Solutions, https://web.archive.org/web/20190621210744/https://www.soclean.com/support/soclean-support/soclean-
compatibility/ (last visited Apr. 27, 2024, archived June 21, 2019).
                                                      9
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including use with medical devices such as PAPs. FDA warned SoClean:




        28.      Following SoClean’s failure to heed FDA’s repeated directives, FDA took its

warnings public. In February 2020, FDA issued a Safety Communication informing patients and

health care providers that devices claiming to clean, sanitize, or disinfect PAP devices or

accessories using ozone “are not legally marketed for this use by FDA in the U.S., and as such,

their safety and effectiveness for use with CPAP devices and accessories is unknown.”8

        29.      Undeterred, SoClean persisted with selling its devices for use “maintaining” PAP

devices, but still instructing users to “clean” the product in the instructions, all in conflict with the

FDA’s warnings. Finally, in November 2023, SoClean announced an “URGENT” “Medical

Device” field correction relating to its SoClean 2 and SoClean 3 product models. As part of the

field correction, SoClean informed users it was revising its labeling and instructions to include:

                 Additional clarity and consistency regarding that the SoClean2 and
                 SoClean3 are not intended to replace CPAP manufacturers’ cleaning
                 instructions but rather are to be used to supplement cleaning procedures for
                 home use CPAP masks and tubing.

                 With each SoClean filter purchase, SoClean is supplying a complementary
                 (no additional cost) Hose and Mask Adapter, which facilitates use of the
                 SoClean2 and SoClean3 equipment without ozone entering the CPAP.9




8
 See U.S. FOOD AND DRUG ADMIN., FDA Reminds Patients that Devices Claiming to Clean, Disinfect or Sanitize
CPAP Machines Using Ozone Gas or UV Light Have Not Been FDA Authorized (Feb. 27, 2020),
www.fda.gov/news-events/press-announcements/fda-reminds-patients-devices-claiming-clean-disinfect-or-sanitize-
cpap-machines-using-ozone-gas-or (last visited Apr. 27, 2024).
9
  SoClean, URGENT Medical Field Correction, www.soclean.com/field-correction (last visited Apr. 27, 2024)
(emphasis added).
                                                      10
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           30.   As admitted by SoClean, the recommendations were aimed at “reducing potential

risks associated with the previous device design and labeling.”10

           31.   Tellingly, despite long knowing the potential harm its products posed, SoClean

only disclosed these risks after being directed to do so by FDA. In SoClean’s draft Medical Device

Field correction notice to consumers, SoClean claimed its provision of hose and mask adapters

was driven by the fact that

                                                                    Incredibly, FDA told SoClean this

statement was misleading:



           32.   Shortly thereafter, FDA issued its own Safety Communication regarding SoClean

Devices, including additional information not provided in SoClean’s field correction. FDA took

the opportunity to remind PAP users that SoClean’s devices were not in compliance with FDA

regulations. It stated: “The FDA continues to work with SoClean to bring the firm into compliance

with FDA requirements.”11 FDA also reiterated harms associated with ozone. Specifically, FDA

explained that “for ozone to be effective in destroying harmful bacteria [as marketed by SoClean],

it must be present at a concentration above levels considered safe for humans.”12

           33.   For all the time before SoClean’s November 2023 field correction, SoClean

allowed its ozone to reach the interiors of its users’ PAPs, as well as the air they breathed. SoClean

in other words marketed and sold products with the potential to harm the very devices they would



10
     Id.
11
  U.S. FOOD AND DRUG ADMIN., Voluntary Recall of SoClean Equipment Intended for Use with CPAP Devices and
Accessories: FDA Safety Communication (Nov. 21, 2023), www.fda.gov/medical-devices/safety-
communications/voluntary-recall-soclean-equipment-intended-use-cpap-devices-and-accessories-fda-safety (last
visited Apr. 27, 2024).
12
     Id.
                                                     11
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supposedly clean, as well as the human users of those devices, without any warnings of these

foreseeable risks.

         34.      Even after FDA demanded that SoClean remove from its website and other

promotional channels any statement that its products were intended for use with PAPs, SoClean

ensured that U.S. consumers can still see SoClean’s assertions that its products are meant to be

used with Philips Respironics’ PAPs. An online search for “SoClean” currently yields results

containing compatibility claims expressly prohibited by FDA. For example, portions of the current

SoClean.com website still provide the above-referenced compatibility chart and compatibility tool

characterizing SoClean as compatible for use with Philips Respironics PAPs, including the

DreamStation models. SoClean’s site asks: “Is your SoClean Compatible?” The site then provides

only two choices with respect to each pictured “Philips Respironics” model listed: “Compatible!”

or “Compatible with free adapter!”13

         35.      Similarly, to this day, DWHP identifies and describes SoClean on its website’s “our

companies” page as creator of the “world’s first automated CPAP cleaner and sanitizer.”14

         36.      SoClean Devices function by generating ozone claimed to disinfect and sanitize

surfaces.

         37.      Ozone consists of three oxygen atoms. As EPA explains, ozone “cleans” by

shedding one of its three oxygen atoms, which bonds with the molecules of other substances,




13
 SoClean, CPAP Machine & SoClean Compatibility Chart | SoClean CPAP Cleaning Solutions,
www.soclean.com/uk/support/soclean-support/soclean-compatibility (last visited Apr. 27, 2024).
14
  DW Healthcare Partners, Our Companies, www.dwhp.com/companies/#close (last visited Apr. 27, 2024)
(“SoClean Inc. is the creator of the world’s first automated CPAP cleaner and sanitizer, an innovative device that
naturally sanitizes CPAP equipment.”).
                                                         12
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altering their chemical compositions.15 This reaction, known as oxidation, can kill viruses,

bacteria, and odors. In relaying the dangers of using ozone-based products indoors, EPA stated,

“[t]he same chemical properties that allow high concentrations of ozone to react with organic

material outside the body give it the ability to react with similar organic material that makes up

the body, and potentially cause harmful health consequences.”16

           38.   SoClean advises PAP users that cleaning with ozone for a

                                                             In its User Manual, SoClean recommends

longer cleaning times than usual for PAP users in hot, humid environments, instructing them:



                 Accordingly, SoClean users in hot, humid environments expose their PAP devices

to even higher levels of ozone if following SoClean’s instructions for use.

           39.   SoClean designed its devices to connect directly to the user’s PAP to circulate

ozone through the PAP and its accessories. SoClean’s technology has remained relatively constant

throughout its introduction of various product models, including the SoClean 1, SoClean 2,

SoClean 2 Go, SoClean 3, and the SoClean 3+. By design, SoClean’s cleaning process floods the

PAP tank, hose, and mask with ozone. As SoClean has described:

                 SoClean products generate and pump ozone through the supply tube and
                 into the humidifier reservoir, cleaning not only the water, but also the inner
                 walls of the reservoir. The ozone then moves through the CPAP hose,
                 eliminating potentially harmful pathogens in the process. Ozone also passes
                 in and out of the mask, cleaning it in the same manner as the hose and
                 reservoir. When the short cleaning cycle is over, the ozone gas exits the




15
  U.S. ENV’T PROTECTION AGENCY, Ozone Generators that are Sold as Air Cleaners, www.epa.gov/indoor-air-
quality-iaq/ozone-generators-are-sold-air-cleaners#:~:text=of%20manufacturers%27%20claims.,
How%20is%20Ozone%20Harmful%3F,ozone%20can%20damage%20the%20lungs (last visited Apr. 27, 2024).
16
     Id.
                                                    13
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                    chamber through a special filter that converts it back into common
                    oxygen.17

           40.      Omitted from this description are the facts that (i) when foam inside the PAP is

exposed to ozone, ozone can cause the foam to degrade; and (ii) ozone can linger in the device and

be breathed by the user, exposing the user to toxic gas.


 II.       Exposure to Ozone Causes Myriad Health Concerns

                 A. SoClean’s Devices Exposed Users to Unsafe Levels of Ozone

           41.      As advised by EPA and FDA and incorporated into federal regulations mandating

ozone limits for medical devices, “for ozone to be effective as a germicide, it must be present in a

concentration far greater than that which can be safely tolerated by man and animals.”18

           42.      Among other harms, ozone can harm the respiratory system and permanently

damage the lungs.

           43.      For people already in poor health (i.e., many of the individuals who may be

prescribed CPAP and BiPAP devices), repeated exposure to ozone can increase the risk of dying.19

While people with chronic health conditions are particularly susceptible to ozone, ozone also can

create health problems in otherwise healthy people.20




17
   Second Amended Complaint ¶ 58, SoClean, Inc. v. Koninklijke Philips N.V., et al., 22-MC-00152-JFC (W.D. Pa.
filed Oct. 10, 2022).
18
     21 C.F.R. § 801.415 (a).
19
  CONN. DEP’T OF PUBLIC HEALTH, Ozone Generators: What You Need to Know, portal.ct.gov/-
/media/Departments-and-Agencies/DPH/dph/environmental_health/eoha/pdf/ozonegeneratorfactsheetpdf.pdf (last
visited Apr. 27, 2024).
20
  U.S. ENV’T PROTECTION AGENCY, Ozone Generators that are Sold as Air Cleaners, www.epa.gov/indoor-air-
quality-iaq/ozone-generators-are-sold-air-cleaners#:~:text=of%20manufacturers%27%20claims.,
%20How%20is%20Ozone%20 Harmful%3F,ozone%20can%20damage%20the%20lungs (last visited Apr. 27,
2024).
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           44.      Even low amounts of ozone exposure can result in coughing, throat irritation,

shortness of breath, and chest pain.21 These symptoms can occur within minutes of even a single

exposure.22

           45.      Ozone worsens asthma, increases susceptibility to respiratory infections and

compromises the body’s ability to fight those infections, inflames lung tissue, and decreases lung

function.23

           46.      The federal regulation dictating maximum ozone levels for medical devices

expressly recognize that inhalation of ozone can cause sufficient harm to the lungs to result in

pulmonary edema, which can result in death.24

           47.      In addition to a host of pulmonary-related issues, ozone exposure also causes other

serious health conditions.

           48.      Federal regulations report the potential for ozone to result in “undesirable

physiological effects on the central nervous system, heart, and vision.”25 For example, breathing

ozone for even a short period can worsen symptoms in people with heart disease.26




21
     Id.
22
 NY STATE DEP’T OF HEALTH, Ozone Generators as Indoor Cleaners,
www.health.ny.gov/environmental/indoors/air/ozone_generating_air_cleaners.htm#:~:text=Ozone%20can%20react
%20with%20other,health%20effect%20is%20less%20certain (last visited Apr. 27, 2024).
23
  U.S. ENV’T PROTECTION AGENCY, Ozone Generators that are Sold as Air Cleaners, www.epa.gov/indoor-air-
quality-iaq/ozone-generators-are-sold-air-cleaners#:~:text=of%20manufacturers%27%20claims.,
%20How%20is%20Ozone%20Harmful%3F,ozone%20can%20damage%20the%20lungs (last visited Apr. 27,
2024).
24
     See 21 C.F.R. § 801.415 (b).
25
     Id.
26
 NY STATE DEP’T OF HEALTH, Ozone Generators as Indoor Cleaners,
www.health.ny.gov/environmental/indoors/air/ozone_generating_air_cleaners.htm#:~:text=Ozone%20can%20react
%20with%20other,health%20effect%20is%20less%20certain (last visited Apr. 27, 2024).
                                                    15
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               49.   Ozone also can react with other chemicals in the air to produce additional chemicals

and fine particles that cause, among other health conditions, further irritation to the eyes, nose,

throat, and lungs.27

               50.   Ozone increases the total number of VOCs in the air by combining with other

common household chemicals to form “dangerous reaction products” that are inhaled.28 As

advised by the Connecticut Department of Health:

                     Ozone does not remove chemical contaminants from the air, but in fact,
                     increases chemical air pollution by combining with chemicals typically
                     found in the home, office, or school, such as ordinary household cleaners,
                     plug-in type air fresheners, and personal hygiene products. Many of these
                     products contain a class of volatile organic compounds (VOCs) called
                     terpenes . . . . Ozone combines with terpenes to form dangerous reaction
                     products (including formaldehyde, a known human carcinogen and
                     respiratory tract irritant) which may be even more irritating than the parent
                     chemicals.29

               51.   Although recovery is possible from the harmful effects of short-term exposure to

low levels of ozone, health effects are more serious and recovery less certain with higher levels or

from longer exposures¾such as the daily use recommended by SoClean.30

               52.   SoClean Devices risk exposing PAP users to unsafe levels of ozone in two ways.

First, ozone escapes from SoClean’s supposed “sealed,” “closed-loop system,” and vents into the




27
     See id.
28
  CONN. DEP’T OF PUBLIC HEALTH, Ozone Generators: What You Need to Know, portal.ct.gov/-
/media/Departments-and-Agencies/DPH/dph/environmental_health/eoha/pdf/ozonegeneratorfactsheetpdf.pdf (last
visited Apr. 27, 2024).
29
     Id.
30
  See U.S. ENV’T PROTECTION AGENCY, Ozone Generators that are Sold as Air Cleaners, www.epa.gov/indoor-air-
quality-iaq/ozone-generators-are-sold-air-cleaners#:~:text=of%20manufacturers%27%20claims.,
%20How%20is%20Ozone%20Harmful%3F,ozone%20can%20damage%20the%20lungs (last visited Apr. 27,
2024).
                                                      16
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PAP user’s room where it can be inhaled.31 Second, and directly relevant to Device User Plaintiffs’

alleged injuries, after a cleaning cycle is complete, some ozone remains in the PAP tank, hose, and

mask, to be inhaled upon next use of their PAP device.

        53.      While SoClean claims a closed-loop system whereby ozone circulates within but

does not exit the device, ozone can in fact leak into the surrounding environment. By design, PAP

devices include an open pathway between its air intake (where the air enters the device to be

pressurized before being gently pushed to the user) and its air outlet (where the PAP face mask

and SoClean device connect to the PAP). Ozone that enters the PAP’s air outlet travels through

the open pathway and can escape through the air-intake opening.

        54.      Ozone leaks also can occur elsewhere, including through tubing connections and

filters, allowing ozone to reach levels capable of harming the PAP user.

        55.      In addition to leaks, use of SoClean devices exposes PAP users to residual ozone

that remains in the PAP tank, hose, and mask after completion of a cleaning cycle. The PAP user

may unknowingly inhale this residual ozone after cleaning their PAP device.

        56.      In addition to leaks, use of SoClean Devices thereby exposes PAP users to residual

ozone that remains in the PAP tank, hose, and mask after completion of a cleaning cycle. The

PAP user may unknowingly inhale this residual ozone after cleaning their PAP device.

        57.      SoClean itself acknowledged these risks following a letter from FDA concerning




31
  Ozone leaks can “occur at tubing connections, filters or through containers used to house CPAP accessories.”
Accordingly, FDA cautions users that “ozone gas in the nearby space may temporarily rise to unsafe levels,
especially if the space is small or not well ventilated.” U.S. FOOD AND DRUG ADMIN., FDA Reminds Patients that
Devices Claiming to Clean, Disinfect or Sanitize CPAP Machines Using Ozone Gas or UV Light Have Not Been
FDA Authorized (Feb. 27, 2020), www.fda.gov/news-events/press-announcements/fda-reminds-patients-devices-
claiming-clean-disinfect-or-sanitize-cpap-machines-using-ozone-gas-or (last visited Apr. 27, 2024).
                                                      17
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                                                       In response, SoClean informed FDA in January

2019 that SoClean must update its labeling to




           58.      SoClean’s actions to address these concerns on a go-forward basis do not undo any

harm caused prior to these changes. SoClean’s negligent and intentionally misleading conduct has

contributed to the harms alleged, making the Third-Party Defendants liable in contribution and

indemnity for their relative culpability.


                 B. FDA and Third-Party Lab Testing Established Unsafe Levels of Ozone

           59.      Due to the health risks posed by ozone, medical devices that generate ozone must

establish compliance with FDA regulations setting maximum acceptable levels of ozone.32 The

law requires ozone output of indoor medical devices to be no more than 0.05 part per million (ppm)

by volume of air.33

           60.      In connection with FDA’s post-market safety concerns, FDA conducted lab testing

of ozone-based cleaning devices, of which SoClean is the self-described “dominant” market

supplier. As reported by FDA, the “testing demonstrated ozone-using disinfection devices

generated ambient levels of ozone above limits considered safe for human exposure.”34




32
  See FDA’s Maximum Acceptable level of Ozone Rule, 21 C.F.R. § 801.415 (2019), which took effect in 1974.
See FDA Final Rulemaking: Ozone Generators and Other Devices Generating Ozone, 39 Fed. Reg. 13773-74 (Apr.
17, 1974).
33
     21 C.F.R. § 801.415(c).
34
  U.S. FOOD AND DRUG ADMIN., FDA Reminds Patients that Devices Claiming to Clean, Disinfect or Sanitize
CPAP Machines Using Ozone Gas or UV Light Have Not Been FDA Authorized (Feb. 27, 2020),
www.fda.gov/news-events/press-announcements/fda-reminds-patients-devices-claiming-clean-disinfect-or-sanitize-
cpap-machines-using-ozone-gas-or (last visited Apr. 27, 2024).
                                                      18
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           61.   FDA testing evidenced that ozone levels in remained elevated PAP devices well

after a cleaning cycle. Test results show that “ozone levels inside of the CPAP equipment can be

above safe limits even several hours after cleaning is completed.”35

           62.   In line with its test results, to date FDA has not approved or cleared for legal sale

any ozone-based PAP cleaning device, including those manufactured by SoClean.

           63.   FDA is not alone in its findings that SoClean Devices exceed regulatory limits on

ozone generation and release.

           64.   Earlier lab tests, conducted by Research Triangle Laboratories, were filed in federal

court in a separate matter. The 2019 tests, requested by a manufacturer of UV-based PAP cleaners

(as opposed to ozone-based), also show that SoClean Devices generate and release ozone

substantially in excess of federal limits.36 Upon the SoClean Device’s automatic shutoff at the end

of the recommended cleaning cycle, ozone within the Teflon test chamber measured 28 ppm, or

560 times the regulatory limit. Another sample was collected following the recommended two-

hour waiting period, and the ozone level measured 3.0 ppmstill 60 times greater than the levels

deemed safe by FDA.37

           65.   SoClean’s internal communications demonstrate its desire to hide the toxicity of

the ozone and that its ozone levelsconsistent with FDA’s and Research Triangle Laboratories’

test results were dramatically in excess of regulatory limits. For example, in an email regarding

SoClean’s Instructions for Use (IFU), SoClean’s Senior Director of Quality and Regulatory Affairs



35
   See U.S. FOOD AND DRUG ADMIN., CPAP Machine Cleaning: Ozone, UV Light Products Are Not FDA Approved,
www.fda.gov/consumers/consumer-updates/cpap-machine-cleaning-ozone-uv-light-products-are-not-fda-approved
(last visited Apr. 27, 2024).
36
  See Complaint, Ex. E, 3B Medical, Inc. v. SoClean, Inc., Case No. 1:19-cv-03545-KPF (S.D.N.Y. filed Apr. 22,
2019).
37
     Id.
                                                      19
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stating,




III.       SoClean Devices Degrade PE-PUR Foam

           66.   Independent of the exposure of Philips RS’ patients to a toxic gas, use by Philips

RS’ patients of SoClean’s ozone-based cleaning devices accelerates and exacerbates the

degradation of the PE-PUR foam in Philips’ Respironics PAPs.

           67.   One mechanism of PE-PUR foam degradation is hydrolysis, the chemical

breakdown of PE-PUR foam due to exposure to moisture and high temperatures. Under normal

use conditions, hydrolysis is an extremely slow process that rarely occurs within the standard

service life of a PAP device. In fact, the normal use conditions for the product call for the

Philips RS Device being operated between 41° to 95° F temperatures. Hydrolysis, however, can

be exacerbated when other stressors are introduced, e.g., exposure to ozone cleaning. Because

ozone is such a strong oxidizer, its introduction to PE-PUR foam directly breaks certain chemical

bonds present in the PE-PUR foam, which allows for the rapid acceleration of the hydrolysis

process.

           68.   Ozone exposure as an acceleration and exacerbation factor for foam degradation

has been corroborated by SoClean’s internal documents, testing conducted by third-party

laboratories, and the formal visual inspection conducted by Philips of its DreamStation 1 devices

returned from the field.




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             A. SoClean’s Own Documents Confirm SoClean Devices Have the Potential to
                Degrade PE-PUR Foam

       69.      SoClean has long known but kept secret that its ozone-based devices have the

potential to damage the foam used inside PAP devices.

       70.      For years SoClean was aware of but kept secret the potential for harm, and actual

harm, caused by ozone when used with various materials including foam and other materials found

in PAP devices. SoClean deliberately concealed this knowledge. For example, results from a test

of a SoClean Device with another manufacturer’s medical device showed

                                                                    In an email forwarding those

results, a SoClean employee noted that the test

                                                                            adding that




(emphasis added.)

       71.      SoClean prepared a                                 based on a



                                                                        The results of the review

underscored SoClean’s earlier findings: namely, that



       72.      SoClean investigated degradation affecting sound-abatement foam inside ResMed

PAPs (a competitor of Philips RS). SoClean’s CEO informed employees,



       73.      In April 2020, SoClean’s Director of Engineering circulated a

                                        report discussing potential messaging around ozone’s
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harmful impact on various materials. The document was based on internal testing of a device used

to disinfect items like cell phones and keys. SoClean confirmed again in the report that ozone

could degrade foam. The report listed a number of materials for which ozone had

                                       including foam. The report went on to consider consumer

messaging based on the effects of these          cycles. Among the potential messaging options

considered was the following guidance:




       74.    A May 2020 external scientific publication circulated internally by SoClean’s

Director of Quality and Regulatory Affairs stating that polyurethane foam “does not exhibit good

ozone compatibility.”

       75.    In a November 2020 email between SoClean engineers regarding testing for the

SoClean 3 device, one noted that FDA

                            She then quoted an FDA comment that read,




        (emphasis added.) SoClean never did so.

       76.    By mid-2023, FDA rebuked SoClean for its                    submissions regarding

product safety. Namely, in July 2023, FDA stated that




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                FDA urged SoClean to



                                                            Due to the inadequacy of SoClean’s

testing submissions, FDA reiterated an earlier request for SoClean to provide




                                                                         underscoring that those

devices

To date, SoClean Devices remain without FDA clearance or approval.

          77.    SoClean has conducted additional testing regarding the impact of its products on

Philips Respironics PAPs but, to date, has provided little in the way of those testing results in

response to Third-Party Plaintiffs’ discovery requests. SoClean, however, recently provided

results for testing it conducted on another manufacturer’s CPAP devices. The testing, performed

in May 2019, evidenced that:




                                                                                       (emphasis

added.) As noted above, SoClean advises that cleaning with ozone for a




                                                23
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        78.      SoClean designed defective products and, even after knowing the harm those

products posed to the very devices they were intended to clean, SoClean failed to warn PAP users

about the potential risks of PE-PUR degradation and exposure to ozone. SoClean’s negligent and

intentionally misleading conduct has contributed to the harms alleged and for which the Philips

Defendants are bearing or may in the future bear financial responsibility, making the Third-Party

Defendants liable in contribution and indemnity for their relative culpability.

              B. The Hawkins Phase I Study Showed that Ozone Exposure Dramatically
                 Accelerates Foam Degradation

        79.      Following its voluntary recall, Philips RS retained multiple independent, certified

laboratories to conduct various tests of its devices, including assessments of whether the use of an

ozone-based cleaning device accelerates or exacerbates foam degradation within the Recalled

Devices.

        80.      In early 2021, third-party consultant Scottsdale Scientific, LLC conducted an

accelerated testing trial to study the impact of cleaning devices using ozone on the deterioration of

foam (the “Hawkins Phase I Study”). For this study, samples of PE-PUR foam were exposed to a

set of high temperatures and humidity levels for varying lengths of time. The impact of ozone was

studied by subjecting half of the samples to ozone on a schedule matching typical use of an

aftermarket cleaning device, while the others (“no-ozone”) were kept in a normal room

atmosphere. To measure the rate of foam degradation, the rate at which the foam lost its tensile

strength was used as a proxy (i.e., the duration at which the foam’s tensile strength is down to half

of its starting value, or the “half-life” for short).

        81.      After comparing the half-life for tensile strength of the ozone group and the no-

ozone group, the Hawkins Phase I Study concluded that



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             C. Philips’ Formal Visual Inspection of Field-Returned Devices Corroborates
                that Ozone Exposure Exacerbates Foam Degradation

       82.      Philips’ visual inspection of PAP devices returned from the field provides further

evidence that the use of ozone cleaning devices is a significant contributor to degradation.

       83.      To determine the prevalence of foam degradation, Philips performed a formal

visual inspection on returned/used DreamStation 1 devices. The visual inspection was conducted

according to a specific protocol as part of the repair process. For this assessment, the device is

disassembled to permit access to the blower box (where the PE-PUR foam is located) and other

parts of the device air path. The blower was also removed from the blower box to allow for full

visual inspection. In addition, photographs were taken of the blower box with and without the

blower for use in further assessing whether any visible degradation occurred and, if so, where any

foam particles accumulated within the blower box.

       84.      Following the visual inspection process, Philips conducted data analyses of two

groups of devices: devices for which the user reported no use of ozone cleaning, and devices for

which the user reported use of ozone cleaning.

       85.      In the U.S., of the group of patients who reported no use of ozone cleaning,

of their returned devices showed no obvious visual foam degradation. By contrast, of the group

of patients who reported use of ozone cleaning devices,            of their returned devices showed

significant visual foam degradation. Therefore, devices for which the user self-reported ozone use

were                              more likely to have significant visual foam degradation than those

where the user reported no ozone use.




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                 D. Subsequent VOC Testing Further Evidences that Ozone Exposure Not Only
                    Accelerates Foam Degradation, but also the Emission of VOCs

           86.      The observation from visual inspection is consistent with additional laboratory

testing, which shows that DreamStation 1 devices exposed to increasing cycles of ozone cleaning

had increasingly more severe visual degradation. Regarding VOCs, additional testing also shows

that ozone exposure results in elevated levels of emission of VOCs.

           87.      In March 2023, third-party consultant Eurofins Materials Science Netherlands B.V.

performed testing on Philips’ DreamStation 1 devices (the “Eurofins Study”). Devices were tested

for VOC and aldehydes release after 1,300 ozone cleaning cycles (each cycle simulating one night

of use followed by ozone cleaning), with one control device that was not subjected to ozone

cleaning.

           88.      The Eurofins Study concludes that




                            After 1,300 cycles, emission of diethylene glycol (an indicator of foam

degradation) of the group of devices exposed to ozone was over



                                                   38



           89.      Testing and analysis related to the impact of ozone on foam degradation clearly

evidence that the use of ozone cleaners significantly escalates foam degradation in the Recalled

Devices.




38
     A subsequent June 2023 toxicological assessment performed by third-party consultant Exponent concludes that



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          IV.    DWHP’s Domineering Management and Undercapitalization of SoClean

           90.     DWHP has exercised its ownership of SoClean to render SoClean its alter ego,

controlling SoClean’s business decisions, both large and small. DWHP ran SoClean to its own

benefit, treating SoClean as its personal piggy bank. Ignoring the clear risks associated with

SoClean’s business, DWHP left SoClean undercapitalized and underinsured, attempting to insulate

DWHP from any fallout by maintaining on paper the existence of SoClean as a separate corporate

entity.

           91.     DWHP is a “healthcare-focused private equity firm.” The front page of its website

prominently features its sophistication in the sector: “We know healthcare.”39 According to its

website, DWHP is run by “seasoned healthcare executives with more than 120 years of combined

industry experience.” And DWHP claims that its “investment focus allows us to better understand

and monitor the regulatory climate, pending and current reimbursement issues, and government

policies and trends that impact the healthcare marketplace.”40

           92.     Given DWHP’s announced sophistication in healthcare and healthcare regulation,

DWHP knew or should have known from even a basic level of diligence at of the time of its

SoClean acquisition that SoClean’s ozone-based cleaning machines were not FDA approved or

cleared for use with PAPs and therefore illegal to promote or sell for use with PAP devices. In

other words, DWHP knew or should have known that SoClean’s business and primary source of

income was predicated on illegal conduct and could be subject to an enforcement action at any

time. Further, DWHP knew or should have known from its diligence that ozone was known to

degrade the components of the PAP devices they were meant to clean, further placing SoClean’s


39
     DW Healthcare Partners, DWHP Home, www.dwhp.com/ (last visited Apr. 27, 2024).
40
  DW Healthcare Partners Adding Value, www.dwhp.com/adding-value/ (last visited Apr. 27, 2024) (emphases
added).
                                                      27
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business at risk. DWHP thus attempted to ensure this risk would only be to SoClean by

maintaining SoClean on paper as a separate corporation with little capital.

        93.      Notwithstanding this risk profile, DWHP acquired a controlling interest in SoClean

from SoClean’s original shareholders, including its current management, for $121 million on

December 20, 2017.41 About $86.5 million of this went to SoClean’s former owners in cash, with

another $32.6 million in newly issued stock. Only $1.6 million of the purchase price went to

SoClean’s working capital to operate the business. And the acquisition was accounted for on

SoClean’s balance sheet by dramatically increasing intangible assets and goodwill overnight, even

though both were subject to immediate impairment because both were based on SoClean’s illegal

business. The accounting for the transaction created two sizeable new assets (i.e., intangible assets

and goodwill) to draw down on SoClean’s assets while loading the company up with debt.

Overnight, with only $1.6 million invested in SoClean’s operations, SoClean supposedly increased

dramatically in value. See SoClean Financial Statements attached as Exhibit 1. But those

intangible assets and that goodwill were built upon the premise that SoClean had a viable and

lawful business. And, when SoClean’s auditors actually evaluated these assumptions, it required

management to write down these assets.

        94.      Further, DWHP structured its acquisition in a manner that saddled SoClean with

enormous debt that left SoClean in a precarious financial condition.                    DWHP financed its

acquisition through a senior credit facility that imposed $60 million in debt on SoClean, with liens

on all of SoClean’s assets and that of its parent. The creditor, White Oak Healthcare Finance,




41
  See Complaint, SoClean2 Pty Ltd v. SoClean, Inc., 4:18-cv-40054 (D. Mass filed Apr. 13, 2018); Answer, id. (D.
Mass filed Oct. 2, 2018), ¶ 70 (SoClean admitting that “[o]n or about December 21, 2017, DW Healthcare, a
Toronto-based private equity firm, acquired a controlling interest in [SoClean]”) (emphasis added).
                                                       28
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LLC, required that the $60 million in financing be secured as senior debt because of SoClean’s

lack of liquidity, regulatory risk, and other material financial debts and obligations.

       95.     Less than a year after the acquisition, DWHP increased SoClean’s debt by another

$33 million, also borrowed from White Oak Healthcare Finance. Again, the proceeds of this

transaction were used to make distributions to SoClean’s shareholders (i.e., to DWHP), not to

improve the SoClean business, the safety of its products, or its financial position. More debt

simply allowed more distributions to DWHP, thereby ensuring the quick recoupment of fully half

of its investment, regardless of whether SoClean survived as a going concern. SoClean received

no benefit from this distribution to DWHP; instead, it was only further saddled with 50% more

debt, with no offsetting benefit. There was no reason for SoClean’s board of directors, if operating

independently from DWHP, to approve more debt just to turn over that amount to its private equity

sponsor.

       96.     By December 2018, DWHP certainly had direct knowledge regarding SoClean’s

regulatory risks. On December 18, 2018, SoClean provided DWHP (and White Oak) a letter

SoClean had received from FDA that day. The letter informed SoClean that

                                                                            Despite this risk, DWHP

caused SoClean to take on additional debt, while once again attempting to insulate itself from any

exposure.

       97.     In 2019, DWHP repeated its further leveraging of SoClean, this time by increasing

SoClean’s debt by another $5 million, the proceeds from which were used to buy back shares of

the company from SoClean’s founder. Again, there was no reason for SoClean’s board of directors

to approve more debt and overleverage SoClean just to allow the repurchase of shares and enrich

SoClean’s former head.

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       98.     DWHP did not only enrich itself through these distributions achieved by creating

more leverage. DWHP further siphoned funds from SoClean, both in terms of management fees

and the receipt of large dividends. DWHP secured annual management fees of about $1 million,

regardless of SoClean’s performance. DWHP also dispersed to itself large dividends at the

expense of SoClean. For example, the year following the assumption of the additional $33 million

of SoClean debt, DWHP paid itself and the other shareholders dividends of $2.989 million.

       99.     In addition to DWHP’s overt siphoning of funds, DWHP also obtained inadequate

insurance coverage for SoClean. As a medical device company operating without FDA approval

or clearance to sell its devicesdevices that use a toxic gas to clean PAP devices that patients use

every day¾SoClean’s business was fraught with regulatory and litigation risk. Despite this,

DWHP opted for minimal insurance coverage for SoClean. For example, SoClean’s insurer has

informed SoClean its policy did not cover claims regarding, inter alia, SoClean’s failure to

disclose its devices emit ozone at levels declared unsafe by FDA. Worse still, even had the insurer

deemed such claims was covered, SoClean’s policy has an aggregate coverage limit of only $10

million—clearly inadequate to cover a company of SoClean’s risk profile.

       100.    In 2021, SoClean’s house of cards began to collapse.




                                           In 2021, SoClean wrote down its intangible assets and

good will by a staggering $38.6 million, a write-down over 100 times greater than its $232,000

write-down the year prior.

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       101.   SoClean has represented to this Court that it is under severe financial strain, such

as by confirming as “accurate” descriptions of SoClean having “very attenuated . . . financial

circumstances.”

       102.   Recognizing the risks associated with SoClean, DWHP hedged its bet by leaving

the company undercapitalized and underinsured. Now, in the face of continued FDA scrutiny and

FDA’s declination to grant SoClean regulatory approval or clearance, DWHP has threatened to

pull the plug. As described to FDA in September 2023,




       103.   DWHP has owned a controlling interest in SoClean since its acquisition of SoClean

in 2017. As stated in SoClean Parent, L.P.’s Consolidated Financial Statement,




       104.   Throughout its ownership, DHWP has dominated SoClean’s management and

controlled it for its own benefit. As stated by the above Consolidated Financial Statement,

SoClean’s Board of Managers




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              SoClean’s Board of Managers meeting minutes show multiple DWHP personnel

serving on the Board of Managers, with the Board chaired by DWHP founder and managing

partner, Andrew Carragher. These executives serving on SoClean’s board participate in SoClean’s

management beyond what is customary for an investor. In fact, SoClean’s day-to-day management

is run by DHWP, as DWHP admits by charging annually its $1 million management fee.

       105.




       106.   Preserving DWHP’s ability to control SoClean is in line with DWHP’s general

investment philosophy. As described in a DWHP brochure:




       107.   Pursuant to its




                                              32
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       108.    DWHP’s involvement in, running of, and control of SoClean’s day-to-day affairs

far exceeded that which is typical of or appropriate for a shareholder. DWHP controlled and was

intimately involved in the minutiae of SoClean’s operations. The limited produced records to date

indicate that, at minimum: (i) DWHP was involved in and exercised authority over personnel

decisions at SoClean; (ii) DWHP was involved in and exercised authority over branding decisions

at SoClean; (iii) DWHP was involved in and exercised authority over testing and research

decisions at SoClean; and (iv) DWHP was involved in and exercised authority over the marketing

and advertising decisions at SoClean.

       109.    At all relevant times, DHWP knew or should have known through, inter alia, its

heavy presence on SoClean’s board and role in day-to-day management, that SoClean’s flagship

ozone machines were not FDA approved or cleared for use with PAPs, that SoClean’s promotion

and sale of its ozone-based PAP cleaning machines was unlawful and, thus, that nearly 100% of

SoClean’s revenues were derived from unlawful conduct. Similarly, at all relevant times, DHWP

knew or should have known that exposure to the ozone used in SoClean’s equipment is toxic, and

that SoClean’s equipment could cause foam within various PAP devices in the market, including

the Recalled Devices, to degrade.

       110.    SoClean’s conduct, as DWHP’s alter ego, contributed to the harms alleged and for

which the Philips Defendants are bearing or may in the future bear financial responsibility.

Impleader is therefore appropriate.




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                                      CLAIMS FOR RELIEF

                                 COUNT 1 – CONTRIBUTION
                              (AS 09.17.080(d); AK R RCP Rule 14(c))

          111.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          112.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          113.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          114.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are also liable in proportion to their

relative culpability.

          115.   The Philips Defendants are thus entitled to equitable apportionment from Third-

Party Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                 COUNT 2 – CONTRIBUTION
                          (Ark. Code § 16-61-202, Ark. Code § 16-61-207)

          116.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.




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          117.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          118.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          119.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tortfeasors because the Philips

Defendants and the Third-Party Defendants have several liability in tort for the same alleged injury

to person or property. As a result, Third-Party Defendants are liable in direct proportion their

percentage of the fault.

          120.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                  COUNT 3 – CONTRIBUTION
                                 (Cal. Civ. Code §§ 1431 and 1432)

          121.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          122.   For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their pro



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rata share of the common liability. The Philips Defendants deny they are liable to Device User

Plaintiffs.

          123.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint wrongdoers because the Philips

Defendants and the Third-Party Defendants have joint and several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          124.   The Philips Defendants are thus entitled to proportionate contribution from Third-

Party Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                              COUNT 4 – EQUITABLE INDEMNITY
                                (Cal. Code. Civ. Proc. § 428.10(b))

          125.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          126.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          127.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability.

          128.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are also equitably liable in proportion to

their relative culpability.
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          129.   The Philips Defendants are thus entitled to equitable apportionment from Third-

Party Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                    COUNT 5 – CONTRIBUTION
                                  (Colo. Rev. Stat. § 13-50.5-101 et seq.)

          130.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          131.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.42

                                          COUNT 6 – CONTRIBUTION

                                          (Del. Code tit. 10, § 6301, et seq.)

          132.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          133.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          134.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.



42
   A contribution claim for Plaintiffs who do not participate in the Settlement Fund and who used SoClean is not yet
ripe in this jurisdiction, but the Philip Defendants intend to bring such a contribution claim when actionable.
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          135.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint wrongdoers because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          136.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                   COUNT 7 – CONTRIBUTION
                                       (Washington, D.C.)

          137.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          138.   For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their pro

rata share of the common liability. The Philips Defendants deny they are liable to Device User

Plaintiffs.

          139.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tortfeasors and are also liable in

proportion to their culpability.

          140.   The Philips Defendants are thus entitled to equitable apportionment from Third-

Party Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.



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                                 COUNT 8 – CONTRIBUTION
                               (Haw. Rev. Stat. Ann. § 663-12, et seq.)

          141.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          142.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          143.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          144.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for their pro rata share of the common liability.

          145.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                  COUNT 9 – CONTRIBUTION
                                (740 Ill. Comp. Stat. 100/0.01 et seq.)

          146.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.




                                                    39
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          147.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          148.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          149.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are subject to liability in tort arising out

of the same alleged injury to person or property. As a result, Third-Party Defendants are liable in

proportion to their relative culpability.

          150.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                     COUNT 10 – CONTRIBUTION
                                       (Iowa Code § 668.1 et seq)

          151.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          152.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.43




43
   A contribution claim for Plaintiffs who do not participate in the Settlement Fund and who used SoClean is not yet
ripe in this jurisdiction, but the Philip Defendants intend to bring such a contribution claim when actionable.
                                                        40
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                                 COUNT 11 – CONTRIBUTION
                                           (Maine)

          153.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          154.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          155.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the damages. The Philips Defendants deny they are liable to

Device User Plaintiffs.

          156.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tort-feasors because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          157.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint tort-feasors.

                               COUNT 12 – CONTRIBUTION
          (Md. Code §§ 3-1401, 3-1402, 3-1403, 3-1404, 3-1405, 3-1406, 3-1407, 3-1408)

          158.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.


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          159.   For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their pro

rata share of the common liability. The Philips Defendants deny they are liable to Device User

Plaintiffs.

          160.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tort-feasors because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          161.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint tort-feasors.

                                     COUNT 13 – CONTRIBUTION
                                    (Mass. Gen. Laws ch. 231B, §§ 1-4)

          162.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          163.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.44




44
   A contribution claim for Plaintiffs who do not participate in the Settlement Fund and who used SoClean is not yet
ripe in this jurisdiction, but the Philip Defendants intend to bring such a contribution claim when actionable.
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                                 COUNT 14 – CONTRIBUTION
                                   (Minn. Stat. § 604.01 et seq.)

          164.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          165.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          166.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their proportional share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          167.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants have common liability for Device User

Plaintiffs’ injuries, and Device User Plaintiffs could have brought an action against the Third-Party

Defendants. As a result, the Third-Party Defendants are liable in proportion to their relative

degrees of fault.

          168.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                 COUNT 15 – CONTRIBUTION
                                   (Mo. Rev. Stat. § 537.060)

          169.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.




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          170.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          171.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their proportional share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          172.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants have common liability for Device User

Plaintiffs’ injuries, and Device User Plaintiffs could have brought an action against the Third-Party

Defendants. As a result, the Third-Party Defendants are liable in proportion to their relative

degrees of fault.

          173.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                 COUNT 16 – CONTRIBUTION
                                   (Mont. Code §§ 27-1-703)

          174.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          175.   For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their pro

rata share of the common liability. The Philips Defendants deny they are liable to Device User

Plaintiffs.
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          176.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tort-feasors because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          177.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint tort-feasors.

                                 COUNT 17 – CONTRIBUTION
                                  (Neb. Rev. Stat. § 25-21, 185.10)

          178.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          179.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          180.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable, then the Third-Party

Defendants have a common liability to Device User Plaintiffs, and the Philips Defendants may be,

but should not be, required to pay more than its fair share of the common liability. As a result, the

Third-Party Defendants are liable in proportion to their relative degrees of fault with respect to

Device User Plaintiffs who used SoClean Devices. The Philips Defendants deny they are liable to

Device User Plaintiffs.

          181.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.
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                                 COUNT 18 – CONTRIBUTION
                                   (Nev. Rev. Stat. §§ 17.225)

          182.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          183.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          184.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their equitable share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          185.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tortfeasors because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          186.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint tortfeasors.

                                 COUNT 19 – CONTRIBUTION
                          (N.J.S.A. 2A:53A-1; N.J.S.A. 2A:15-5.3, et seq.)

          187.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.


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          188.   For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their pro

rata share of the liability. The Philips Defendants deny they are liable to Device User Plaintiffs.

          189.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for their pro rata share of the liability.

          190.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                    COUNT 20 – PROPORTIONAL INDEMNIFICATION
                                    (New Mexico)

          191.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          192.   The Philips Defendants deny they are liable to Device User Plaintiffs. But if and

to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their pro

rata share of the liability.

          193.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, the Third-Party Defendants are liable for negligence. As a result, the Third-

Party Defendants are liable for their pro rata share of the liability.




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          194.    The Philips Defendants are thus entitled to indemnification from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.45

                                      COUNT 21 – CONTRIBUTION
                                       (N.Y. C.P.L.R. § 1401, et seq.)

          195.    The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          196.    For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay more than their

equitable share of the liability. The Philips Defendants deny they are liable to Device User

Plaintiffs.

          197.    To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants subject to liability for damages for the

same alleged personal injury or injury to property. As a result, the Third-Party Defendants are

liable for their equitable share of the liability.

          198.    The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                      COUNT 22 – CONTRIBUTION
                                       (N.C. Gen. Stat. § 1B-1 et seq.)

          199.    The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.




45
  A proportional indemnification claim for Plaintiffs who do not participate in the Settlement Fund and who used
SoClean is not yet ripe in this jurisdiction, but the Philip Defendants intend to bring such a contribution claim when
actionable.
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          200.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          201.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          202.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint wrongdoers because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          203.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                  COUNT 23 – CONTRIBUTION
                                 (N.D. Cent. Code § 32-38-01 et seq.)

          1.     The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          2.     The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.



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          3.    Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          4.    To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint wrongdoers because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same

alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative culpability.

          5.    The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                 COUNT 24 – CONTRIBUTION
                                   (Ohio Rev. Code § 2307.25)

          6.    The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          7.    The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          8.    Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to



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pay more than their proportionate share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          9.    To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly and severally liable in tort for

the same alleged injury or loss to person or property. As a result, Third-Party Defendants are liable

in proportion to their relative degree of legal responsibility.

          10.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                 COUNT 25 – CONTRIBUTION
                                     (12 Okla. Stat. § 832)

          11.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          12.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          13.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          14.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint wrongdoers because the Philips

Defendants and the Third-Party Defendants have joint or several liability in tort for the same



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alleged injury to person or property. As a result, Third-Party Defendants are liable in proportion

to their relative degree of fault.

          15.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                     COUNT 26 – CONTRIBUTION
                                     (42 Pa. Cons. Stat. § 8324, et seq.)

          16.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          17.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          18.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than its proportional share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          19.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for their pro rata share of the common liability.

          20.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.




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                                  COUNT 27 – CONTRIBUTION
                                    (R.I.G.I. § 10-6-3, et seq.)

          21.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          22.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          23.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their proportional share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          24.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for their pro rata share of liability.

          25.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                  COUNT 28 – CONTRIBUTION
                                 (S.C. Code Ann. § 15-38-20, et seq.)

          26.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.




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          27.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          28.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their pro rata share of the entire liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          29.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for their pro rata share of liability.

          30.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                  COUNT 29 – CONTRIBUTION
                                    (S.D.C.L. § 15-8-12, et seq.)

          31.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          32.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          33.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to
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pay more than their pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          34.    To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for their pro rata share of the common liability.

          35.    The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                    COUNT 30 – CONTRIBUTION
                                  (Tenn. Code Ann. § 29-11-102, et seq.)

          36.    The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          37.    The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.46

                                   COUNT 31 – CONTRIBUTION
                          (Tex. Civ. Prac. & Rem. Code Ann. § 33.015, et seq.)

          38.    The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          39.    For those Device User Plaintiffs who do not participate in the Settlement Fund, if

and to the extent the Philips Defendants are found liable for any damages alleged by Device User

Plaintiffs, the Philips Defendants may be, but should not be, required to pay a percentage of the

damages for which the Philips Defendants are jointly and severally liable greater than the Philips


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   A contribution claim for Plaintiffs who do not participate in the Settlement Fund and who used SoClean is not yet
ripe in this jurisdiction, but the Philip Defendants intend to bring such a contribution claim when actionable.
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Defendants’ percentage of responsibility. The Philips Defendants deny they are liable to Device

User Plaintiffs.

          40.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are jointly or severally liable in tort for

the same alleged injury to person or property. As a result, the Third-Party Defendants are liable

for the percentage of the damages for which they are responsible.

          41.   The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.

                                COUNT 32 – CONTRIBUTION
                                (Va. Code Ann. § 8.01-34, et seq.)

          42.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          43.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          44.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by the Device User Plaintiffs, the Philips Defendants may be, but should not be, required

to pay more than its pro rata share of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

          45.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint wrongdoers because the Philips

Defendants and the Third-Party Defendants may have joint or several liability in tort for the same



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alleged injury to person or property. As a result, the Third-Party Defendants are liable in

proportion to their relative culpability.

          46.   The Philips Defendants are thus entitled to contribution from the Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants and to an

allocation of fault as among all joint wrongdoers.

                                COUNT 33 – CONTRIBUTION
                             (Revised Code of Washington § 4.22.070)

          47.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          48.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          49.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs , the Philips Defendants may be, but should not be, required to

pay more than their proportionate share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          50.   To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, then the Third-Party Defendants are joint tortfeasors because the Philips

Defendants and the Third-Party Defendants may have joint or several liability in tort for the same

alleged injury to person or property. As a result, the Third-Party Defendants are liable in

proportion to their relative culpability.

          51.   The Philips Defendants are thus entitled to contribution from the Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.
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                                COUNT 34 – CONTRIBUTION
                           (West Virginia Code § 55-7-13a - § 55-7-13d)

          52.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.

          53.   The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

          54.   Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their proportionate share of the common liability. The Philips Defendants deny they

are liable to Device User Plaintiffs.

          55.   To the extent the Philips Defendants are found liable to the Device User Plaintiffs

who used SoClean Devices, then the Third-Party Defendants are also liable because the Philips

Defendants and the Third-Party Defendants may have several liability in tort for the same alleged

injury to person or property.      As a result, the Third-Party Defendants are liable for their

comparative culpability.

          56.   The Philips Defendants are thus entitled to contribution from the Third-Party

Defendants for their comparative share of any judgment entered against the Philips Defendants.

                                COUNT 35 – CONTRIBUTION
                                       (Wisconsin)

          57.   The Philips Defendants incorporate each of the allegations above as if fully set forth

herein.




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       58.     The Philips Defendants request judgment against Third-Party Defendants for those

amounts paid in the Settlement Fund by Philips in its discharge of the common liability to Plaintiffs

opting into the Settlement Fund who used SoClean in excess of Philips’ pro rata share.

       59.     Additionally, for those Device User Plaintiffs who do not participate in the

Settlement Fund, if and to the extent the Philips Defendants are found liable for any damages

alleged by Device User Plaintiffs, the Philips Defendants may be, but should not be, required to

pay more than their just proportion of the common liability. The Philips Defendants deny they are

liable to Device User Plaintiffs.

       60.     To the extent the Philips Defendants are found liable to Device User Plaintiffs who

used SoClean Devices, the Third-Party Defendants are also negligent wrongdoers. As a result, the

Third-Party Defendants are liable for their proportion of the common liability.

       61.     The Philips Defendants are thus entitled to contribution from Third-Party

Defendants for all or part of any judgment entered against the Philips Defendants.


                                     PRAYER FOR RELIEF

       WHEREFORE, Third-Party Plaintiffs respectfully ask for:

               a.      Entry of judgment in Third-Party Plaintiffs’ favor against Third-Party

Defendants;

               b.      An award of contribution and indemnity proportional to the Third-Party

Defendants’ fault for all or part of any judgment for which Third-Party Plaintiffs are determined

to be liable (if any), plus prejudgment and post-judgment interest;

               c.      Reasonable attorneys’ fees, costs, and expenses incurred in this litigation as

allowed for the indemnity and other claims asserted by Third-Party Plaintiffs; and;

               d.      Such other relief as the Court may deem appropriate and just.
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                                      JURY DEMAND

    Third-Party Plaintiffs demand a jury trial on all issues so triable.

                                           Respectfully submitted,


Dated: May 10, 2024                         /s/ Erik T. Koons
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                                CERTIFICATE OF SERVICE

       I hereby certify on this 10th day of May 2024, a true and correct copy of the foregoing

was filed electronically and is available for viewing and downloading from the Court’s ECF

System. Notice of this filing will be sent to all counsel of record by operation of the ECF System.


                                             _/s/ Erik T. Koons_________
                                             Erik T. Koons




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